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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

EASTERN DIVISION

DIGITAL MEDIA SOLUTIONS, LLC ) CASE NO. 1:19-cev-145

)
Plaintiff, ) JUDGE DAN AARON POLSTER

)

V. ) MAGISTRATE JUDGE

) THOMAS M. PARKER
SOUTH UNIVERSITY OF OHIO, LLC et )
al, )
)
Defendants. )

 

DECLARATION OF MARK DOTTORE

 

I, Mark Dottore, pursuant to 28 U.S.C. § 1746, declare as follows:

l. I am a resident of the State of Ohio.

2. I make the within declaration from my own personal knowledge, and I am
competent to so testify.

3. I am the Court-appointed Receiver for the Receivership Entities. See Amended
Receiver Order at 1-2 [Doc. 150] (listing the Receivership Entities). As relevant here, the Court
appointed me the Receiver of Dream Center Argosy University of California LLC, a California
nonprofit LLC and Argosy Education Group LLC, a California nonprofit LLC, which operates
Western State College of Law at Argosy University (the “School”).

4, Before my appointment as Receiver, the School advertised itself as for sale to a
willing buyer. After my appointment, I was approached by Westcliff Management Group dba
Westcliff University (“Westcliff’ or the “Buyer”) along with other groups who were seriously

interested in acquiring the School and substantially all of the assets (the “Assets”) of the School.
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5. Since my appointment in this case, I have marketed all of the Assets in a manner
that was designed to attract the maximum number of individuals and groups with an interest in
purchasing one or multiple campuses. Further, this case has been the subject of extensive press
coverage. Through the press coverage and through earlier efforts to sell the School, my interest
in a sale transaction was widely known among educators, educational institutions, and investors
in educational institutions. In excess of twenty prospective buyers have contacted me about the
possibility of purchasing one or more campuses of the Receivership Entities.

6. The Asset Purchase Agreement dated July 22, 2019 submitted by Buyer (the
“APA”) is the highest and best offer I have received for the Assets. It represents the highest in
terms of money offered for the Assets and includes the opportunity to continue the institution
and honor the students’ wishes to complete their programs of study. The APA offers the School’s
creditors the most money (although the price paid was $1), and the School’s students an
uninterrupted education. Principals of Buyer have demonstrated postsecondary education
experience and knowledge and are more likely than other prospective purchasers to be successful
in obtaining the approvals from regulatory authorities which are required to complete the sale
transaction. Buyer also seeks to close at the earliest possible time and demonstrates the financial
wherewithal to do so.

7. If the Assets are not sold to Buyer at this time, the School will close and the
Assets will be substantially devalued beyond their current state. Put another way, by selling the
Assets as a “going concern”; in this case, as an educational institution, significant liabilities will
be avoided. Without a sale at this time, the School will have to close because it cannot continue
to operate as an educational institution, even for a short time, without outside financial

assistance. The School is also in danger of losing both its accreditation and its ability to
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participate in federal student aid programs. The sale to Buyer will also benefit the School’s
students, faculty and the community as the school will be able to continue its accreditation and
its ability to participate in federal student aid programs through the Buyer’s OPE ID number. In
order to sell the Assets as a continuing educational enterprise in good standing, the Seller must
complete its sale transaction immediately. If the sale is not completed by the end of this month,
Seller will not be able to commence the teach out the students and significant liabilities will be
incurred,

8. I believe that the consideration to be paid by the Buyer for the Assets constitutes
adequate and fair value for the Assets and the terms and conditions of the APA are fair and
reasonable.

9, I believe that the Sale should be consummated because in my business judgment
if the Sale is not consummated: (i) there is a risk of immediate and irreparable loss of value of
the Assets and in incurring of significant liabilities; (ii) the School cannot continue as an
educational institution for even a short time without accreditation and financial assistance, (iv) if
the School ceases to operate as an educational institution, its students will be unable to complete
their programs of study, (v) the consummation of the transaction contemplated under the APA
presents the best opportunity to realize the value of the Assets to avoid further decline and
devaluation thereof; and (vi) the sale is an arm’s length transaction in in good faith and Westcliff
is not a successor.

I declare under penalty of perjury that the foregoing is true and correct to the best of my

information, knowledge, and belief. Executed on this 1‘ day of in Cleveland, Ohio.

  
